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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
TULLIO L. DELIBERALI,                          :
                                               :
                             Plaintiff,        :   CIVIL ACTION NO.
             v.                                :
                                               :
ALLEN-BRADLEY COMPANY()                        :   Asbestos Case
CT Corporation Systems                         :
8020 Excelsior Drive                           :
Suite 200                                      :
MADISON, WI USA 53717

AMTICO()
Division of American Biltrite
57 River Street
WELLSLEY HILLS, MA 02181

AURORA PUMP ()
c/o Lynette Jones
13515 Ballantyne Corporate Place
CHARLOTTE, NC 28277

Armstrong International O
2081 Southeast Ocean Blvd.
4th Floor
STUART, FL 34996

BAYER       CROPSCIENCE INC.,             as
successor to (229)
Amchem Products, Inc.
2TW Alexander Drive
RESEARCH TRIANGLE PARK,                   NC
27709

BEAZER EAST (f/k/a Koppers) (440)
c/o Three Rivers Management
Manor Oak One, Suite 200
1910 Cochrane Road
PITTSBURGH, PA 15220

BF GOODRICH COMPANY ()
2730 W. Tyvola Road
CHARLOTTE, NC 28217-4543
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BLACKMER PUMPS 0
1809 Century Avenue SW
GRAND RAPIDS, MI 49503

BUFFALO PUMPS, INC. ()
874 Oliver Street
NORTH TONAWANDA, NY 14120

BW/IP Inc. ()
c/o FLOW SERVICE CORPORATION
5215 N. O'Connor Blvd, Suite 2300
IRVING, TX 75039

CARRIER CORPORATION()
1 Carrier Place
FARMINGTON, CT 06034

CBS Corporation, formerly Westinghouse
Electric Corporation ()
c/o Prentice Hall
80 State Street
ALBANY, NY 12207

CLARK CONTROLLER CO. (396)
c/o GTE Products of Connecticut
Corporation
600 Hidden Ridge
IRVING, TX 75038

CLEAVER-BROOKS, INC. (155)
A Division of Aqua-Chem, Inc.
3707 North Richards
PO Box 421
MILWAUKEE, WI 53201

COONEY BROTHERS ( 178)
1850 North Gravers Road
#100

PLYMOUTH MEETING, PA 19462
COPES VULCAN ()
5620 West Road
MCKEAN, PA 16426

CRANE CO. (11752)
100 First Stamford Place
STAMFORD, CT 06902




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DURO-DYNE()
81 Spence Street
BAY SHORE, NY 11706

FOSTER WHEELER, LLC (131)
PO Box 4000
CLINTON, NJ 08809


GENERAL ELECTRJC COMPANY (064)
c/o CT Corporation Systems
600 North 2nd Street
Suite 401
HARRISBURG, PA 17101


GOODYEAR TIRE AND RUBBER CO. ()
CORPORATION SERVICE CO.
2711 Centerville Road, Suite 400
WILMINGTON, DE 19808

GOULD ELECTRONICS, INC. ()
34929 Curtis Boulevard
EASTLAKE, OH 44095

GOULDS PUMPS INC. ()
270 Fall Street
SENECA FALLS, NY 13148

GREENE, TWEED & CO., INC. (132)
c/o Greene, Tweed NC, LLC
227 West Trade Street
Suite 2170
CHARLOTIE, NC 28202

GRINELL CORPORATION (191)
f/k/a ITT GRINELL
c/o CT Corporation Systems
600 Norbi. 2nd Street, Suite 401
HARRISBURG, PA 17101

HOMASOTE()
932 Lower Ferry Road
TRENTON, NJ 08628

IMO INDUSTRIES, INC. 0
f/k/a De Laval Steam Turbine Company
The Corporation Trust Company
1209 Orange Street
WILMINGTON, DE 19801



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INGERSOLL-RAND & CO. ()
Corporate Center
One Centennial Avenue
PISCATAWAY, NJ 08854

J.A. SEXAUER ()
570 Taxter Road
Suite 230
ELMSFORD, NY 10523

J.J. WHITE, INC. ()
5500 Bingham Street
PHILADELPHIA, PA 19l20

JOHN CRANE, INC. (093)
6400 Oakton Road
MORTON GROVE, IL 60053

METRO POLIT AN LIFE INSURANCE
CO. ()
200 Park Avenue
Room 3200
NEW YORK, NY 10166

MINNESOTA         MINING      AND
MANUFACTURING()
3M Center
ST. PAUL, MN 55144

OWENS~ILLINOIS, INC. (032)
Legal Department, Plaza One
c/o Mona Huffinan
One Michael Owens Way
PERRYSBURG, OH 43551

SELBY BATTERSBY AND COMPANY
(5786)
n/k/a SB DECKING, INC.
c/o Alan R. Gries, Esq.
GIBBONS, P.C.
One Logan Square
130 N. 18th Street, Suite 1210
Philadelphia, PA 19103

SQUARED COMPANY (4399)
200 N. Martingale Road
Suite 100
SCHAUMBURG, IL 60173




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VIAD CORPORATION ()
f/k/a Dial Corp.
1850 N Central Ave, Ste 1900
PHOENIX, AZ 85004

WARREN PUMPS LLC ()
Corporation Trust Center
1209 Orange Street
WILMINGTON, DE l 9801

WEIL McLAIN, A Division of The Marley
Company. A Wholly Owned Subsidiary of
United Dominion Industries, Inc. (163)
500 Blaine Street
MICHIGAN CITY, IN 46360



                              Defendants.

                                   NOTICE OF REMOVAL

       Owens-Illinois, Inc. (“Owens-Illinois”) has removed this action from the Philadelphia

Court of Common Pleas to the United States District Court for Eastern District of Pennsylvania.

Based on the following facts and declarations, removal is appropriate under 28 U.S.C. §§ 1331,

1367, 1441, 1442, and 1446:

       A.      PRELIMINARY STATEMENT

       1.      On May 23, 2018, Plaintiffs commenced this action by filing a complaint against

Owens-Illinois and others in Philadelphia Court of Common Pleas. In their complaint, Plaintiffs

allege that Mr. Deliberali was injured as a result of his exposure to asbestos while working at the

Philadelphia Naval Shipyard. See Plaintiff’s Complaint, a copy of which is attached as Exhibit

“A,” ¶ 6.

       2.      Owens-Illinois has a federal right to remove this action to federal court because

Mr. Deliberali’s claimed exposure to asbestos from Owens-Illinois gives rise to colorable federal



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